                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION

ALISON BENNETT,                              )
                                             )
       Plaintiff,                            )
                                             )       No. 4:12-cv-286
       vs.                                   )
                                             )
GC SERVICES L.P.,                            )       STIPULATION TO DISMISS
                                             )
       Defendant.                            )


       Now come the Plaintiff, ALISON BENNETT, and the Defendant, GC SERVICES L.P.,

and hereby advise the Court that they have stipulated that this matter shall be dismissed with

prejudice, each party to assume their own costs.


/s/ Mitchel E. Luxenburg                           /s/ Caren D. Enloe
Mitchel E. Luxenburg (42021)                       Caren D. Enloe (17394)
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2013 a copy of the foregoing Stipulation of Dismissal was

filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. Parties may access this filing through

the Court’s system.



                                                        /s/ Mitchel E. Luxenburg
                                                        Mitchel E. Luxenburg (42021)




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